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                          Exhibit B
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              [Playtest 1 (August 19 ~ 21, 2022)]




        [Playtest 2 (October 28 ~ November 2, 2022)]
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            [Playtest 3 (December 16 ~ 26, 2022)]




                [Playtest 4 (Feb 6 ~ 16, 2023)]
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               [Playtest 5 (April 14 ~ 19, 2023)]
